          IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND
                   NORTHERN DIVISION


 Ruth Akers, on behalf of herself and all       Case No. ______________
 others similarly situated,

                       Plaintiff,

 v.

 Maryland State Education
 Association; Teachers Association of
 Baltimore County, as representative of
 the class of all chapters and affiliates of
 the Maryland State Education
 Association; National Education
                                                Plaintiff’s Class-Action Complaint
 Association; Baltimore County Public
 Schools, as representative of the class of
 all school districts in Maryland; Larry
 Hogan, in his official capacity as
 governor of Maryland; Brian Frosh, in
 his official capacity as Attorney General
 of Maryland; Elizabeth Molina
 Morgan, Robert I. Chanin, John A.
 Hayden III, Donald W. Harmon, and
 Ronald S. Boozer, each in their official
 capacities as members of the Maryland
 Public School Labor Relations Board,

                       Defendants.



      Ruth Akers is a public-school teacher who brings this class action on behalf of
herself and all others similarly situated, seeking redress for the defendants’ past and
ongoing violations of her constitutionally protected rights. The defendants have vio-
lated the class members’ constitutional rights by forcing non-union members to pay
compulsory “representation fees” to the Maryland State Education Association
(MSEA) or its affiliates as a condition of their employment. The defendants have also




plaintiff’s class-action complaint                                         Page 1 of 14
violated the constitutional rights of every public-school employee by threatening to
disclose their private, personal contact information to the MSEA and its affiliates with-

out the employee’s consent.

                        JURISDICTION AND VENUE
    1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
U.S.C. § 1343, and 28 U.S.C. § 1367.
    2.   Venue is proper because a substantial part of the events giving rise to the

claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).
    3.   Because Ms. Akers resides in Carroll County, assignment to the Northern
Division is appropriate. See Local Rule 501(4)(b)(iii).

                                      PARTIES
    4.   Plaintiff Ruth Akers resides in Carroll County, Maryland.
    5.   Defendant Maryland State Education Association (MSEA) is a labor union
whose headquarters are located at 140 Main Street, Annapolis, Maryland 21401.
    6.   Defendant Teachers Association of Baltimore County is a local union chapter
affiliated with the MSEA. Its offices are located at 305 East Joppa Road, Towson,
Maryland 21286. It is sued as representative of the class of all chapters and affiliates
of the MSEA.
    7.   Defendant National Education Association (NEA) is a labor union whose
headquarters are located at 1201 16th Street NW, Washington, D.C. The NEA is
affiliated with the MSEA.
    8.   Defendant Baltimore County Public Schools is a school district in Baltimore
County, Maryland. Its offices are located at 6901 Charles Street, Towson, Maryland
21204. It is sued as representative of the class of all public-school districts in Mary-
land.




plaintiff’s class-action complaint                                           Page 2 of 14
    9.   Defendant Larry Hogan is the governor of Maryland. His office is located at
100 State Circle, Annapolis, Maryland 21401-1925. Governor Hogan is the repre-

sentative of the State and he is sued in his official capacity.
    10. Defendant Brian Frosh is the Attorney General of Maryland. His office is
located at 200 St. Paul Place, Baltimore, Maryland 21202. He is charged with enforc-
ing the state’s laws, including Md. Code Educ. § 407(c)–(f) and HB 811, which Ms.
Akers is challenging as unconstitutional, and he is sued in his official capacity.
    11. Defendants Elizabeth Molina Morgan, Robert I. Chanin, John A. Hayden
III, Donald W. Harmon, and Ronald S. Boozer are members of the Maryland Public
School Labor Relations Board. Their offices are located at 45 Calvert Street, Room
102, Annapolis, Maryland 21401. They are charged with enforcing the State’s collec-
tive-bargaining laws, including Md. Code Educ. § 407(c)–(f) and HB 811, and they
are sued in their official capacities.

         CLAIM #1 — UNCONSTITUTIONAL AGENCY SHOP
    12. Ms. Akers is a public-school teacher who works for the Baltimore County
Public Schools.
    13. Ms. Akers refuses to join the MSEA or its affiliates because she disapproves
of their political advocacy and collective-bargaining activities, as well as the excessive
salaries paid to even low-ranking MSEA officials.
    14. Even though Ms. Akers is not a member of the MSEA or its affiliates, she is
compelled to pay “representation fees” to the MSEA as a condition of her employ-
ment. See Md. Code Educ. § 6-407(c) (attached as Exhibit 1); Master Agreement
Between the Board of Education of Baltimore County and the Teachers Association
of Baltimore County § 3.20 & Appendix F (July 1, 2014 – June 30, 2019) (attached
as Exhibit 3, at pages 10 and pages 63–65).




plaintiff’s class-action complaint                                            Page 3 of 14
    15. Ms. Akers does not want to pay these “representation fees” because she dis-
approves of the MSEA’s activities and does not wish to subsidize them in any way.

The compelled subsidy that Ms. Akers and her fellow representation-fee payers must
remit to the MSEA as a condition of their employment violates their constitutional
rights.
    16. The law of Maryland authorizes the MSEA to extract money from non-
union members as a condition of their employment. See Md. Code Educ. §§ 6-
407(c)–(f) (attached as Exhibit 1). Sections 6-407(c)–(f) are unconstitutional because
they allow public-employee unions to compel “representation fees” from nonmem-
bers and without first securing the employee’s affirmative, written, and freely given
consent.
    17. Section 6-407(c)(4) also requires public-school employees “whose religious
beliefs are opposed to joining or financially supporting any collective bargaining or-
ganization” to pay their “representation fees” to a non-religious, union-approved
charity rather than to the MSEA itself. This subsection is unconstitutional for multiple
reasons. First, employees have a constitutional right to refrain from joining or provid-
ing financial support to a public-employee union, and they cannot be subject to any
financial penalty for exercising this constitutional prerogative. Second, section 6-
407(c)(4) violates the Free Exercise Clause by limiting its protections to those whose
religious beliefs forbid them to join or support any labor union, while withholding its
protections from those who have no religious objections to labor unions per se but

who object on religious grounds to the specific ideological advocacy of the MESA.
Third, section 6-407(c)(4) violates the Free Exercise Clause by categorically disqual-
ifying religious charities as a permissible recipient of these compelled payments. See
Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012 (2017).
    18. Section 6-407(c)(7) requires school employers to deduct “representation
fees” from the paychecks of non-union members and remit that money directly to the


plaintiff’s class-action complaint                                          Page 4 of 14
MSEA or its affiliates. Section 6-407(c)(7) is unconstitutional because it compels pub-
lic-school employers to take “representation fees” from a non-union member’s

paycheck and remit them to a public-employee union without first securing the em-
ployee’s affirmative, written, and freely given consent.
    19. The MSEA, along with the Baltimore County Public Schools and every
other school district in the state, is acting under color of state law by imposing and
collecting these “representation fees” from Ms. Akers and her fellow class members.
See Md. Code Educ. §§ 6-407(c)–(f).
    20. The MSEA and its affiliates, along with the Baltimore County Public
Schools and every other school district in the state, have committed the torts of con-
version, trover, detinue, and trespass to chattels by confiscating money that rightfully
belongs to public-school employees. The unions and the school districts cannot de-
fend their tortious conduct by relying on Md. Code Educ. § 6-407(c)–(f), because
these statutory provisions are unconstitutional and unconstitutional statutes cannot
confer immunity on tortious behavior.
    21. The collective-bargaining agreement between the Board of Education of
Baltimore County and the Teachers Association of Baltimore County requires the
union to indemnify and hold the school district harmless for any claims that arise out
of the imposition of these “agency fees” or “representation fees.” See Exhibit 3, Ap-
pendix F, at page 65.

CLAIM #2 — UNCONSTITUTIONAL COMPELLED DISCLOSURE
             OF PERSONAL INFORMATION
    22. Maryland recently enacted House Bill 811 (HB 811) in an attempt to dis-
suade union objectors such as Ms. Akers from withholding their support for the
MSEA. See Exhibit 2 (reprinting the text of HB 811). Several provisions of this newly
enacted statute violate the constitutional rights of Ms. Akers and her fellow union
objectors.



plaintiff’s class-action complaint                                          Page 5 of 14
    23. HB 811 creates new statutory sections to be codified at Md. Code Educ.
§ 6-407.2, and Md. Code Educ. § 6-509.2. These new statutory provisions compel

public-school employers to provide the MSEA and its affiliates with the name, home
address, home telephone numbers, and personal cell-phone numbers of each newly
hired school employee — regardless of whether the employee consents to this disclo-
sure of his or her personal, private contact information. See Exhibit 2, at pages 5–6.
Sections 6-407.2 and 509.2 also authorizes the MSEA and its affiliates to collectively
bargain for the compelled disclosure of school employees’ personal contact infor-
mation. See id.
    24. HB 811 also amends Md. Code, General Provisions § 4-311 to allow the
MSEA and its affiliates to access an employee’s home address, home telephone num-
ber, and personal cell-phone number from the employee’s personnel file — regardless
of whether the employee consents to this disclosure of his or her personal, private
contact information.
    25. These new statutory provisions are scheduled to take effect on July 1, 2018.
    26. HB 811 does not give public-school employees any right to prevent this
forcible disclosure of their personal contact information, and the statute imposes no
restrictions on what the unions may do with the personal contact information that
they obtain.
    27. These provisions of HB 811 unconstitutionally chill the exercise of First
Amendment freedoms by allowing public-employee unions to acquire the personal

information of every employee who exercises his constitutional right not to join or
financially support the union, or who exercises his First Amendment right to publicly
criticize or oppose the union’s activities. Labor unions have a long history of bullying
and intimidating anti-union employees, and the courts do not and cannot tolerate
compelled-disclosure laws that chill the exercise of First Amendment freedoms. See
NAACP v. Alabama, 357 U.S. 449 (1958).


plaintiff’s class-action complaint                                          Page 6 of 14
           CLASS ALLEGATIONS — AGENCY-SHOP CLAIM
    28. Ms. Akers brings this class action under Fed. R. Civ. P. 23(b)(1)(A),
(b)(1)(B), and (b)(3). The class includes all individuals who: (1) are or were employed

by the State of Maryland or any of its subunits, including any school district in the
State; and (2) are or were non-union members who were compelled by the MSEA or
its affiliates to pay “agency fees” or “representation fees” as a condition of their em-
ployment — regardless of whether those fees were remitted to the union, its affiliates,
or a third-party organization. The class includes everyone who has ever fallen within
this definition, including current, former, or retired teachers or teachers who have
moved to other States, and it includes anyone who comes within the class definition
at any time before the conclusion of this action.
    29. The number of persons in the class makes joinder of the individual class
members impractical.
    30. There are questions of fact and law common to all class members. Factually,
all class members are public employees and non-union members who have been forced
to pay “representation fees” to the MSEA or its affiliates as a condition of their em-

ployment. Legally, the U.S. Constitution and Maryland tort law afford the same rights
to every member of the class.
    31. Ms. Akers’s claims are typical of other class members, as each class member
has objected to union membership yet was subject to “representation fees” despite
their refusal to join the MSEA or its affiliates.
    32. Ms. Akers adequately represents the interests of her fellow class members,
and she has no interests antagonistic to the class.
    33. A class action can be maintained under Rule 23(b)(1)(A) because separate
actions by class members could risk inconsistent adjudications on the underlying legal
issues.




plaintiff’s class-action complaint                                          Page 7 of 14
    34. A class action can be maintained under Rule 23(b)(1)(B) because an adju-
dication determining the constitutionality of compulsory “representation fees” will,

as a practical matter, be dispositive of the interests of all class members.
    35. A class action can be maintained under Rule 23(b)(3) because the common
questions of law and fact identified in the complaint predominate over any questions
affecting only individual class members. A class action is superior to other available
methods for the fair and efficient adjudication of the controversy because all class
members are subjected to the same violation of their constitutional rights, and the
amount of money involved in each individual’s claim would make it burdensome for
class members to maintain separate actions.

   CLASS ALLEGATIONS — COMPELLED-DISCLOSURE CLAIM
    36. Ms. Akers seeks to represent a larger and distinct class of plaintiffs for her
compelled-disclosure claim. She brings this class claim under Fed. R. Civ. P.
23(b)(1)(A), (b)(1)(B), and (b)(3). The compelled-disclosure class includes all indi-
viduals who: (1) are or will be employed by the State of Maryland or any of its subu-
nits, including any school district in the State; and (2) are or will be subject to having
their personal contact information turned over the MSEA, its chapters or affiliates, or
any public-employee union without the employee’s consent. The class includes any-
one who comes within the class definition at any time before the conclusion of this
action.
    37. The number of persons in the class makes joinder of the individual class
members impractical.
    38. There are questions of fact and law common to all class members. Factually,
all class members are public employees whose personal contact information is at risk
of disclosure. Legally, the U.S. Constitution affords the same rights to every member
of the class.




plaintiff’s class-action complaint                                             Page 8 of 14
    39. Ms. Akers’s claims are typical of other class members, as each class member
is exposed to the compelled disclosure of their personal, private contact information.

    40. Ms. Akers adequately represents the interests of her fellow class members,
and she has no interests antagonistic to the class.
    41. A class action can be maintained under Rule 23(b)(1)(A) because separate
actions by class members could risk inconsistent adjudications on the underlying legal
issues.
    42. A class action can be maintained under Rule 23(b)(1)(B) because an adju-
dication determining the constitutionality of these compelled disclosures will, as a
practical matter, be dispositive of the interests of all class members.
    43. A class action can be maintained under Rule 23(b)(3) because the common
questions of law and fact identified in the complaint predominate over any questions
affecting only individual class members. A class action is superior to other available
methods for the fair and efficient adjudication of the controversy because all class
members are subjected to the same violation of their constitutional rights and it would
be burdensome for each class member to maintain separate actions.

                              CAUSES OF ACTION
    44. Ms. Akers is suing the MSEA and its local affiliates, the NEA, the school
districts, Governor Hogan, Attorney General Frosh, and the members of the Mary-
land Public School Labor Relations Board under 42 U.S.C. § 1983 and the Declara-
tory Judgment Act, 28 U.S.C. § 2201, each of which supplies a cause of action for
the individual and class-wide relief that she is requesting.
    45. Ms. Akers is also suing the MSEA and its local affiliates under the state-law
torts of conversion, trover, detinue, trespass to chattels, and any other state-law cause
of action that offers relief for this unlawful seizure of her personal property. Mr. Akers




plaintiff’s class-action complaint                                            Page 9 of 14
invokes the supplemental jurisdiction of this court over these pendent state-law claims.
See 28 U.S.C. § 1367.

                            DEMAND FOR RELIEF
    46. Ms. Akers respectfully requests that the court:
         a.     certify a class of all nonunion members who have been forced to pay
                “representation fees” to the MSEA, its affiliates, or a third-party or-
                ganization as a condition of their employment;

         b.     certify a separate class of all public-school employees whose personal
                contact information is at risk of disclosure by the provisions of HB
                811;
         c.     declare that Ms. Akers and her fellow class members have a constitu-
                tional right to decline to join or financially support a public-employee
                union, and that they cannot be forced to pay money to a public-em-
                ployee union (or a union-approved third-party organization) as a con-
                dition of their employment;
         d.     declare that state tort law protects the right of Ms. Akers and her fel-
                low class members not to have their wages garnished or redirected by
                the MSEA without their affirmative, written, and freely given consent,
                and that any federal or state law or collective-bargaining agreement
                that purports to override these protections of state tort law by allow-
                ing the MSEA to help itself to the wages and paychecks of school
                employees — or that compels school employees to consent the gar-
                nishment of their wages by the MSEA as a condition of their employ-
                ment — is unconstitutional and without legal effect;




plaintiff’s class-action complaint                                         Page 10 of 14
        e.     declare Md. Code Educ. § 6-407(c)–(f) and each of their subsections
               unconstitutional because they allow public-employee unions to ex-

               tract “representation fees” from nonmembers as a condition of their
               employment, and permanently enjoin Governor Hogan, Attorney
               General Frosh, the members of the Maryland Public School Labor
               Relations Board, the school districts, and all of their officers, agents,
               servants, employees, attorneys, and any other person or entity in ac-
               tive concert or participation with them, from enforcing Md. Code
               Educ. § 6-407(c)–(f), or any other provision of state law that author-
               izes or enforces public-employee union shops;
        f.     declare Md. Code Educ. § 6-407(c)(4) unconstitutional because it
               imposes a financial penalty on employees who exercise their constitu-
               tional right to refuse to join or financially support a public-employee
               union;
        g.     declare that Md. Code Educ. § 6-407(c)(4) violates the Free Exercise
               Clause by limiting its protections to those whose religious beliefs for-
               bid them to join or support any labor union, while withholding its
               protections from those who have no religious objections to labor un-
               ions per se but who object on religious grounds to the specific ideo-
               logical advocacy of the MESA;
        h.     declare that Md. Code Educ. § 6-407(c)(4) violates the Free Exercise

               Clause, as interpreted in Trinity Lutheran Church of Columbia, Inc.
               v. Comer, 137 S. Ct. 2012 (2017), by categorically disqualifying reli-
               gious charities from receiving the compelled payments described in
               that subsection;
        i.     declare Md. Code Educ. § 6-407(c)(7) unconstitutional, and perma-
               nently enjoin the Baltimore County Public Schools, along with every


plaintiff’s class-action complaint                                        Page 11 of 14
               school district in the state of Maryland, from deducting “representa-
               tion fees” from the paychecks of non-union members and remitting

               them to public-employee unions;
        j.     declare that section 3.20 and Appendix F of the collective bargaining
               agreement between the Board of Education of Baltimore County and
               the Teachers Association of Baltimore County violates the constitu-
               tional rights of Ms. Akers and her fellow class members, and declare
               that all collective-bargaining agreements that compel non-union
               members to pay “representation fees” to the MSEA or its affiliates as
               a condition of their employment are invalid and without effect;
        k.     permanently enjoin the Board of Education of Baltimore County and
               the Teachers Association of Baltimore County from enforcing section
               3.20 and Appendix F of their collective bargaining agreement, and
               permanently enjoin every school district and every MSEA affiliate in
               the State from enforcing similar provisions in collective bargaining
               agreements that require non-union members to pay “agency fees” or
               “representation fees” to a public-employee union;
        l.     order the MSEA and its affiliates, including the NEA, to repay all
               “agency fees” or “representation fees” or other money that they un-
               constitutionally took from Ms. Akers and her fellow class members;
        m.     permanently enjoin the MSEA and its affiliates, along with their offic-

               ers, agents, servants, employees, attorneys, and any other person or
               entity in active concert or participation with it, from taking or redi-
               recting any type of money from Ms. Akers and her fellow class mem-
               bers or any other public employee as a condition of their employment
               and without first obtaining the employee’s affirmative, written, and
               freely given consent;


plaintiff’s class-action complaint                                       Page 12 of 14
        n.     permanently enjoin the Baltimore County Public Schools, along with
               every school district in the State, from entering into any collective-

               bargaining agreement that allows a public-employee union to collect
               or redirect any type of money from a non-union member;
        o.     declare unconstitutional the provisions of HB 811 that require public
               employers to turn over their employees’ personal contact information
               to a union without the employee’s consent, and permanently enjoin
               Governor Hogan, Attorney General Frosh, the members of the Mar-
               yland Public School Labor Relations Board, the school districts, and
               all of their officers, agents, servants, employees, attorneys, and any
               other person or entity in active concert or participation with them,
               from enforcing those provisions of HB 811, Md. Code Educ. § 6-
               407.2, Md. Code Educ. § 6-509.2, or Md. Code, General Provisions
               § 4-311(b)(3);
        p.     permanently enjoin the Baltimore County Public Schools, along with
               every school district in the State, from disclosing the personal contact
               information of its employees to the MSEA or any other public-em-
               ployee union without first securing the employee’s affirmative, writ-
               ten, and freely given consent;
        q.     permanently enjoin the MSEA and its affiliates and chapters, along
               with their officers, agents, servants, employees, attorneys, and any

               other person or entity in active concert or participation with them,
               from seeking or obtaining the personal contact information of any
               employee who has chosen not to join or financially support the union,
               or any other employee who has have declined to give his employer
               permission to disclose his personal contact information to the MSEA;




plaintiff’s class-action complaint                                        Page 13 of 14
        r.     order the MSEA, its affiliates and chapters, the Baltimore County
               Public Schools, and every school district in the State to immediately

               honor and enforce a public employee’s decision to withdraw his mem-
               bership or financial support of a public-employee union, regardless of
               the time of year that the decision is made;
        s.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        t.     grant all other relief that the Court may deem just, proper, or equita-
               ble.

                                           Respectfully submitted.

                                            /s/ Rada A. Machin
Jonathan F. Mitchell*                      Rada A. Machin
Mitchell Law PLLC                          D. Md. Bar No. 20076
106 East Sixth Street, Suite 900           The Machin Law Firm, LLC
Austin, Texas 78701                        One Research Court, Suite 450
(512) 686-3940                             Rockville, Maryland 20850
jonathan@mitchell.law                      (301) 731-2000 (phone)
                                           (301) 731-2000 (fax)
* pro hac vice application                 rada@machinlawfirm.com
  forthcoming
                                           Counsel for Plaintiffs and
Dated: June 18, 2018                       the Proposed Class




plaintiff’s class-action complaint                                       Page 14 of 14
